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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Patrick Henry Building
                                                        601 D St., N.W
                                                        Washington, D.C. 20530




                                                       September 14, 2023

Andrew Giering
Assistant Federal Defender
Federal Defender Office
10 Columbus Boulevard, 6th Floor
Hartford, CT 06106
Email: andrew giering@fd.org


                       Re:     United States v. Long Duong
                               Criminal Case No. 23-cr-219 (DLF)

Dear Mr. Giering:

       This letter sets forth the full and complete plea offer to your client, Long Duong
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on October 16, 2023. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as "this Agreement"). The terms of the offer are as follows:

        1.     Charges and Statutory Penalties

       Your client agrees to plead guilty to Count One in the Information, charging your client
with Entering and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C.
§ 1752(a)(l).

       Your client understands that a violation of 18 U.S.C. § 1752(a)(l) carries a maximum
sentence of one (1) year of imprisonment; a fine of $100,000, pursuant to 18 U.S.C.
§ 3571(b)(5); a term of supervised release of not more than 1 year, pursuant to 18 U.S.C.
§ 3583(b )(3); and an obligation to pay any applicable interest or penalties on fines and restitution
not timely made.




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        In addition, pursuant to 18 U.S.C. § 3013(a)(l)(A)(iii), your client agrees to pay a special
assessment of $25 per class A misdmeanor conviction to the Clerk of the United States District
Court for the District of Columbia. Your client also understands that, pursuant to 18 U .S.C.
§ 3572 and§ 5El.2 of the United States Sentencing Commission, Guidelines Manual (2021)
(hereinafter "Sentencing Guidelines," "Guidelines," or "U.S.S.G."), the Court may also impose a
fine that is sufficient to pay the federal government the costs of any imprisonment, term of
supervised release, and period of probation.

       2.      Cooperation with Additional Investigation

       Your client agrees to allow law enforcement agents to review any social media accounts
operated by your client for statements and postings in and around January 6, 2021, prior to
sentencing.

       3.      Factual Stipulations

        Your client agrees that the attached "Statement of Offense" fairly and accurately
describes your client's actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       4.      Additional Charges

        In consideration of your client's guilty plea to the above offense(s), your client will not
be further prosecuted criminally by this Office for the conduct set forth in the attached Statement
of Offense. The Government will request that the Court dismiss the remaining counts of the
Information in this case at the time of sentencing. Your client agrees and acknowledges that the
charge(s) to be dismissed at the time of sentencing were based in fact.

        After the entry of your client's plea of guilty to the offense(s) identified in paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code§ 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

       5.      Sentencing Guidelines Analysis

         Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 1l(c)(l)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:




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                A.     Estimated Offense Level Under the Guidelines

       The parties agree that the following Sentencing Guidelines sections apply:

       U.S.S.G. § 2B2.3 Trespass Base Offense Level                                      4
       U.S.S.G. § 2B2.3(b)(l)(A)(vii) Specific Offense Characteristics (restricted area) +2

                                                                             Total           6
       Acceptance of Responsibility

        The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3El.1, provided that your client clearly demonstrates acceptance ofresponsibility, to the
satisfaction of the Government, through your client's allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance ofresponsibility, pursuant to U.S.S.G. § 3El.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C 1.1, regardless of any
agreement set forth above, should your client move to withdraw your client's guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 4.

                B.     Estimated Criminal History Category

       Based upon the information now available to this Office including the Pre-Plea Criminal
History Calculation, your client has at least the following criminal convictions:

                                                              Date&              U.S.S.G.
 Conviction          Jurisdiction       Docket No.
                                                              Sentence           Points
 Assault &           Worcester           113748               12/19/1986         0 points
 Battery             Superior, MA                             Confinement: 9-    § 4Al.2(e)(l),
 Dangerous                                                    10 years           (3)
 Weapon

 Kidnapping                              113747
 Manslaughter        Worcester           113746               4/7/1987        0 points
                     Superior, MA                             Confinement: 9- § 4Al.2(e)(l),
                                                              12 years        (3)




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 Possession of      Framingham         9449JR00672C         9/14/1994          0 points
 Burglarious        District, MA                            Confinement:       § 4Al .2€(2),
 Weapons                                                    90 days            (3)

 Larceny                               9449JF00672B         Confinement:
                                                            30 days

 Breaking &                            9449JF00672A         Confinement:
 Entering Night                                             90 days

 Assault &          Westborough        9867CR1555C          8/26/1998          0 points
 Battery            District, MA                            Confinement: 6     § 4Al.2(e)(2),
 Dangerous                                                  months             (3)
 Weapon

 Breaking &                            9867CR1555B
 Entering Night

 Larceny                               9867CR1555A
 Possession Class Worcester            0062CR185C           3/14/2000:         0 points
 A Controlled     District                                  Probation          § 4Al.2(e)(2),
 Substance                                                                     (3)

 Possession                            0062CR185B
 Hypodermic
 Needle or
 Syringe

 Possession                            0062CR185A
 Hypodermic
 Needle or
 Syringe
 Shoplifting        Worcester          0062CR218A           $125 fine          0 points
                    District                                                   § 4Al.2(e)(2),
                                                                               (3)
 Assault and        Worcester           1362CR000082B       Probation          0 points
 Battery            District                                                   § 4Al.2(e)(2),
                                                                               (3)


        If your client is a known foreign national, U.S.S.G. § 4Al.2(h) provides that "[s]entences
resulting from foreign convictions are not counted, but may be considered under §4Al.3
(Adequacy of Criminal History Category)."

      Accordingly, your client is estimated to have O criminal history points and your client's
Criminal History Category is estimated to be I (the "Estimated Criminal History Category").

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Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client's criminal convictions and/or criminal history
points may be reached and your client's criminal history points may increase or decrease.

                C.      Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client's estimated Sentencing Guidelines range is Omonths to 6 months (the
"Estimated Guidelines Range"). In addition, the parties agree that, pursuant to U.S.S.G. § 5El.2,
should the Court impose a fine, at Guidelines level 4, the estimated applicable fine range is $500
to $9,500. Your client reserves the right to ask the Court not to impose any applicable fine.

        The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the "Reservation of
Allocution" section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client's base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

        6.      Agreement as to Sentencing Allocution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside of the applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a).




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       7.      Reservation of Allocution

         The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client's misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

        In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

       8.      Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government's
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client acknowledges that your client's entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client's plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government's sentencing recommendation. The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.



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        9.      Conditions of Release

        Your client acknowledges that, although the Government will not seek a change in your
client's release conditions pending sentencing, the final decision regarding your client's bond
status or detention will be made by the Court at the time of your client's plea of guilty. The
Government may move to change your client's conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client's plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client's release conditions or any misconduct by your client may result in the Government filing
an ex parte motion with the Court requesting that a bench warrant be issued for your client's
arrest and that your client be detained without bond while pending sentencing in your client's
case.

        10.    Waivers

               A. Venue

        Your client waives any challenge to venue in the District of Columbia.

               B. Statute of Limitations

        Your client agrees that, should the conviction following your client's plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

               C. Trial Rights

         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client's guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client's behalf, and to choose whether to testify. If there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury


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instructed that your client's failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client's guilt
beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client's conviction. Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client's right against self-incrimination.

        Your client acknowledges discussing with you Rule 1 l(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client's guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

               D.      Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client's sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client's right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               E.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought


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under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U .S.C.
§ 3582(c)(2).

               F. Hearings by Video Teleconference and/or Teleconference

       Your client consents, under Federal Rule of Criminal Procedure 43(b )(2) and otherwise, to
hold any proceedings in this matter - specifically including but not limited to presentment, initial
appearance, plea hearing, and sentencing - by video teleconference and/or by teleconference and
to waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case.

       11.     Use of Self-Incriminating Information

        The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an "off the record" agreement by the parties.

       12.     Restitution

        Your client acknowledges that the riot that occurred on January 6, 2021, caused as of July
7, 2023, approximately $2,923,080.05 in damage to the United States Capitol, as well as additional
losses to the Metropolitan Police Department. Your client agrees as part of the plea in this matter
to pay restitution to the Architect of the Capitol in the amount of $500.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney's Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will
complete and electronically provide the standard financial disclosure form to
usadc.ecfflu@usa.doj.gov 30 days prior to your client's sentencing. Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney's Office, through
defense counsel, to complete a financial statement. Upon review, ifthere are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a



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separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years'
incarceration and a fine.

        Your client expressly authorizes the United States Attorney's Office to obtain a credit
report on your client in order to evaluate your client's ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons' Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

        Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

        13.    Immigration Consequences

        Your client recognizes that because your client is not a citizen of the United States, your
client's guilty plea and conviction make it very likely that, at a minimum, your client is at risk of
being deported or suffering other adverse immigration consequences. Your client acknowledges
discussing the possible immigration consequences (including deportation) of this guilty plea and
conviction with you. Your client affirms that your client wants to plead guilty regardless of any
immigration consequences that may result from the guilty plea and conviction, even if those
consequences include deportation from the United States. It is agreed that your client will have
no right to withdraw this guilty plea based on any actual or perceived adverse immigration
consequences (including deportation) resulting from the guilty plea and conviction. It is further
agreed that your client will not challenge your client's conviction or sentence on direct appeal, or
through litigation under 28 U.S.C §§ 2255 and/or 2241, on the basis of any actual or perceived
adverse immigration consequences (including deportation) resulting from your client's guilty
plea and conviction.

       14.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client's obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,

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including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as "off-the-record" debriefings, and including your
client's statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client's
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client's guilty plea.

        15.    Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney's Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney's Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
October 16, 2023.




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                                   Sincerely yours,




                                   Matthew M. Graves
                                   United States Attorney

                                         MELANIE KREBS      Digitally signed by MELANIE
                                                            KREBS PILOTTI
                                         PILOTTI            Date: 2023.11.01 12:07:03 -04'00'
                            By:
                                   Melanie Krebs-Pilotti
                                   Antitrust Division, Trial Attorney
                                   Detailed to USAO-DC
                                   CA Bar No. 241484
                                   United States Attorney's Office
                                   601 D Street, N.W.
                                   Washington, D.C. 20530
                                   Telephone No. 202-870-7457
                                   Email: melanie.krebs-pilotti2@usdoj.gov




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.\~r • ·m~nl full~. I am pk.1Jing gutlt~ h1.·1..,1u, • I .un in l.1i..:1 guilt~ o r thl.'.' 111 kn c1,11tk11t1li ·d 111
th 1, \~r ·i:111 ·111.

        I r ·allinn 1h.11 .1h,l1lut ·h no rwn11!'-1..!, .•1gr1..·1.·mcnt~. unJ,:r t,mJin_:,. or '-'"nd111ori-- h,l\ l'
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111 th, \~r • ·m ·nt I am ~ati,fi ·d ,,uh thl-' kg.11 ,c1\ ic '!, pro, id,:d h> m~ att11rnc~ 111 u111n • tllm
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